          Case 1:10-cr-00905-LTS Document 2351 Filed 10/19/20 Page 1 of 8




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 10-CR-905-LTS

THEODORE JONES,

                 Defendant.

-------------------------------------------------------x


                                            MEMORANDUM ORDER

                 The Court has received and reviewed Mr. Jones’ motion for Compassionate

Release pursuant to 18 U.S.C. § 3582 (Docket Entry No. 2338), and the parties’ subsequent

briefing (Docket Entry Nos. 2347 and 2349). Mr. Jones seeks a reduction of his sentence to time

served and a modification of his terms of supervised release to accommodate his proposed

release plan. (Docket Entry No. 2338.)

                 This Court has authority to reduce a defendant’s sentence pursuant to 18 U.S.C.

section 3582(c)(1)(A). That provision states in relevant part:

                 the court . . . upon motion of the defendant after the defendant has
                 fully exhausted all administrative rights to appeal a failure of the
                 Bureau of Prisons to bring a motion on the defendant’s behalf or
                 the lapse of 30 days from the receipt of such a request by the
                 warden of the defendant’s facility, whichever is earlier, may
                 reduce the term of imprisonment . . . after considering the factors
                 set forth in section 3553(a) to the extent that they are applicable, if
                 it finds that . . . extraordinary and compelling reasons warrant such
                 a reduction . . . and that such a reduction is consistent with
                 applicable policy statements issued by the sentencing commission.
Until very recently, courts referred to U.S.S.G. § 1B1.13, Application Note 1 (“Note 1”) as the

applicable sentencing commission policy statement in connection with compassionate release

motions. Note 1 defines “extraordinary and compelling reasons” by reference to three narrow


JONES - COMP RLS ORD.DOCX                                  VERSION OCTOBER 19, 2020                1
         Case 1:10-cr-00905-LTS Document 2351 Filed 10/19/20 Page 2 of 8




sets of factual circumstances, and further provides that “[o]ther reasons . . . [a]s determined by

the Director of the Bureau of Prisons” may constitute extraordinary and compelling reasons for

reduction of a term of imprisonment. U.S.S.G. § 1B1.13, Application Note 1. Under that

framework, this Court has previously engaged in a three-step inquiry, determining first whether

the defendant had met the administrative remedy exhaustion requirement, then considering

whether there were extraordinary and compelling reasons of the type contemplated by Note 1,

and if so, whether any of the 18 U.S.C. § 3553(a) factors outweighed those extraordinary and

compelling reasons.

               On September 25, 2020, the United States Court of Appeals for the Second

Circuit held that section 1B1.13, which by its terms addresses only sentencing reduction motions

initiated by the Bureau of Prisons, is not applicable to a motion brought by a defendant pursuant

to 18 U.S.C. section 3582(c)(1)(A), as amended by the First Step Act of 2018. U.S. v. Brooker

No. 19-32180-CR, 2020 WL 5739712, at *6 (2d Cir. Sept. 25, 2020) (stating that the court reads

the guideline provision as surviving the First Step Act amendments to section 3582(c)(1)(A) but

as “applying only to those motions that the BOP has made.”) Accordingly, Note 1 “cannot

constrain district courts’ discretion to consider whether any reasons are extraordinary and

compelling.” Id. Because “the First Step Act freed district courts to consider the full slate of

extraordinary and compelling reasons that an imprisoned person might bring before them in

motions for compassionate release,” the Court looks to the provisions of the statute itself to guide

the exercise of its discretion. Id. at *7. 18 U.S.C. section 3582(c)(1)(A) directs that the Court

determine whether extraordinary and compelling reasons exist “after considering the factors set

forth in section 3553(a) to the extent they are applicable.”




JONES - COMP RLS ORD.DOCX                         VERSION OCTOBER 19, 2020                           2
         Case 1:10-cr-00905-LTS Document 2351 Filed 10/19/20 Page 3 of 8




               After determining whether Mr. Jones has exhausted his administrative remedies, 1

the Court now considers the section 3553(a) factors, and then determines whether those factors

“in isolation or combination” establish that Mr. Jones’ circumstances are “extraordinary and

compelling” such that they warrant a reduction of his sentence. Brooker, 2020 WL 5739712, at

*9. The Court exercises its discretion in this regard “in the first instance,” id., and is limited by

the statute only to the extent that “[r]ehabilitation of the defendant alone shall not be considered

an extraordinary and compelling reason.” 28 U.S.C.A. § 994(t) (Westlaw through Pub. L. No.

116-163) (emphasis added). It remains Mr. Jones’ burden to prove that an extraordinary and

compelling reason exists. See U.S. v. Gotti, No. 2-CR-743 (CM), 2020 WL 497987, at *5

(S.D.N.Y. Jan. 15, 2020).

               Section 3553(a) directs that the Court

               shall consider . . . the nature and circumstances of the offense and
               the history and characteristics of the defendant; . . . the need for the
               sentence imposed . . . to reflect the seriousness of the offense,
               promote respect for the law, and to provide just punishment for the
               offense; . . . to afford adequate deterrence to criminal conduct; . . .
               to protect the public from further crimes of the defendant; . . . to
               provide the defendant with needed educational and vocational
               training, medical care, or other correctional treatment in the most
               effective manner; . . . the kinds of sentences available; . . . [and]
               the need to avoid unwarranted disparities among defendants with
               similar records who have been found guilty of similar conduct. . . .
18 U.S.C.A. § 3553(a) (Westlaw through Pub. L. 116-163). The Court considered these factors

in connection with Mr. Jones’ sentencing hearing on Sept. 27, 2018. (Docket Entry No. 2214.)

Several of these factors remain unchanged. The nature and circumstances of his offense remain


1
       Mr. Jones has exhausted his administrative remedies. On approximately April 7, 2020,
       Mr. Jones requested that the BOP reduce his sentence based on his medical condition.
       (Gov. Exh. B.) On May 5, 2020, the BOP denied his request, stating that, while Jones
       has a chronic medical condition, he is not disabled or capable of only limited self-care
       because he does not require assistance with the activities of daily living. (Gov. Exh. C.)


JONES - COMP RLS ORD.DOCX                          VERSION OCTOBER 19, 2020                             3
         Case 1:10-cr-00905-LTS Document 2351 Filed 10/19/20 Page 4 of 8




extremely serious, as the Court found that Mr. Jones’ participation in the Rodriguez conspiracy

was “directed to the most serious violent types of activity.” (Id. at 29:14-15.) The circumstances

of Mr. Jones’ difficult childhood, criminal history, and lack of educational and personal support

also necessarily remain unchanged. (Id. at 30:4-22.) Other factors that were material to the

Court’s sentencing determination are also constants, such as Mr. Jones’ intellectual disabilities,

the effect of his age on the likelihood of recidivism, and his genuine remorse. (Id. at 32:10-23.)

Mr. Jones’ efforts at self-rehabilitation were an important consideration at the time of sentencing

as well. The Court varied downward from the 360 months to life stipulated guidelines range to a

sentence of 240 months, anticipating that Mr. Jones would be able to reenter the community and

build upon his ongoing self-rehabilitation efforts. (Id. at 32.)

               Mr. Jones’ health was deteriorating inexplicably at the time of sentencing. Since

that time, after a long period of delay and further deterioration of his condition, he has been

diagnosed with Multiple Sclerosis (“MS”), a terminal, degenerative disease that makes it

unlikely that he will live long enough to complete his sentence, much less experience a quality of

life upon release that would allow him to reestablish himself in society. He is unable to walk

more than a few steps without a walker and is largely confined to a wheelchair. (Docket Entry

No. 2338, Exh. A. at 3; Docket Entry No. 2349, at 1.) He is going blind (Docket Entry No.

2349, at 1), and has become incontinent. (Docket Entry No. 2338, at 6.) A consulting physician

recommends that Mr. Jones be seen by a neurologist every three months and have new

treatments prescribed to slow the progression of new disease activity when existing therapies are

ineffective. (Docket Entry No. 2338, Exh. A, at 3.)

               The need to provide Mr. Jones’ with increasingly intensive medical care counsels

in favor of a reduced sentence. In the context of the COVID-19 pandemic, his medical condition



JONES - COMP RLS ORD.DOCX                          VERSION OCTOBER 19, 2020                          4
         Case 1:10-cr-00905-LTS Document 2351 Filed 10/19/20 Page 5 of 8




presents an extraordinary and compelling reason which, after consideration of all of the section

3553(a) factors, warrants reducing his sentence to time served. The treatment for his disease

suppresses his immune system (Docket Entry No. 2338, Exh. A, at 4), and thereby likely

increases the risk that he will be infected by and suffer serious complications from COVID-19 in

the prison setting. See People with Certain Medical Conditions,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html, (last visited Oct. 19, 2020). Those taking the medication prescribed to Mr.

Jones are advised to isolate as much as possible during the pandemic. (Docket Entry No. 2338,

Exh. A, at 4.) Mr. Jones’ confinement to a wheelchair only further increases his vulnerability to

the virus. See What you Need to Know About Coronavirus (COVID-19), National Multiple

Sclerosis Society, available at https://www.nationalmssociety.org/coronavirus-covid-19-

information/multiple-sclerosis-and-coronavirus (last visited Oct. 19, 2020) (noting that people

with MS and mobility issues are more likely to become severely ill with the coronavirus).

               In the prison environment, where social distancing is not possible and access to

personal hygiene products is limited, Mr. Jones is much less able to abide by the CDC’s best

practices than are most prisoners, due to his mobility issues, advancing blindness, and

incontinence. He is therefore more likely than others in his facility to contract the virus, and

more likely to suffer serious complications if he is infected. Continuing to expose Mr. Jones to

those risks would not serve the interests of promoting respect for the law or providing just

punishment. Nor is the need to provide for his medical care met by continued confinement. A

reduced sentence enabling him to take protective measures under home detention will provide

Mr. Jones with access to the most effective manner of medical treatment appropriate to his




JONES - COMP RLS ORD.DOCX                         VERSION OCTOBER 19, 2020                          5
        Case 1:10-cr-00905-LTS Document 2351 Filed 10/19/20 Page 6 of 8




individual medical condition in light of the current COVID-19 pandemic. See section

3553(a)(2)(D).

                 In addition to the health risks facing Mr. Jones during the pandemic, the role the

BOP played in in the progression of his disease is also relevant to the Court’s analysis of whether

his circumstances are extraordinary and compelling. Mr. Jones complained of his symptoms as

early as 2014, but the BOP neglected to address Mr. Jones’ medical needs appropriately until

2017. (Docket Entry No. 2338, at 3.) It was not until Sept. 2018 that Mr. Jones was seen by a

neurologist. (Id.) And it was not until after this Court recommended an additional MRI that Mr.

Jones received the MRI that revealed his disease. 2 (Docket Entry No. 2214, at 36-37; Docket

Entry No. 2338, at 6.) The delay in diagnosis and treatment has accelerated his physical

deterioration and intensified his suffering beyond what he likely would have experienced had he

received proper medical care. (Docket Entry No. 2338, Exh. A, at 1.) Mr. Jones’ incarceration

has been more severe than the Court intended, as a result of his condition and the BOP’s role in

the progress of his disease. That severity has been compounded by restrictions put in place by

the BOP in response to the pandemic. The unexpected severity of his incarceration also counsels

in favor of a reduction in order to serve the purposes of just punishment, respect for the law, and

adequate deterrence. The Government does not argue that Mr. Jones is currently a danger to the

community, and Mr. Jones has proffered that he has a stable place to reside and financial and

personal support.

                 The Court has considered all of the factors set out in section 3553(a) and finds

that there are extraordinary and compelling reasons to reduce Mr. Jones’ custodial sentence to



2
       Mr. Jones received an MRI in 2016, prior to this Court’s recommendation at sentencing.
       However, that MRI was performed on Mr. Jones’ right hip, despite his complaints that
       the pain he experienced was in his left hip. (Docket Entry No. 23338, at 2.)


JONES - COMP RLS ORD.DOCX                          VERSION OCTOBER 19, 2020                           6
         Case 1:10-cr-00905-LTS Document 2351 Filed 10/19/20 Page 7 of 8




time served. Such reduction is necessary in light of Mr. Jones’ medical condition, in the context

of the ongoing pandemic and upon consideration of the section 3553(a) factors, to render his

custodial sentence sufficient but not greater than necessary to address the sentencing purposes set

out in that section. A lengthy period of supervision, including an additional 2 years of

supervision under home detention for the first 12 months with monitoring as determined by the

Probation Office, followed by the five-year term of supervised release that was imposed as part

of his original sentence, will address the need to promote respect for the law, provide just

punishment for the offense, and address any ongoing deterrence and protection of the public

concerns.

               For the foregoing reasons, the Court grants Mr. Jones’ motion for compassionate

release pursuant to 18 U.S.C. § 3582(c)(1)(A). Mr. Jones’ custodial sentence is hereby shortened

to time served, and the Court imposes an additional 2 years of supervised release pursuant to 18

U.S.C. section 3582(c)(1)(A). Mr. Jones will serve the first year of the additional supervised

release term on home detention with monitoring as directed by the Probation Office, and will be

subject throughout the additional period to the other mandatory, standard and special conditions

of supervised release that were imposed in connection with his original sentence by the judgment

dated October 5, 2018 (Docket Entry No. 2211). Upon completion of this additional two-year

supervised release period, he will commence the five-year period of supervised release that was

imposed by the 2018 judgment.      The Court will also enter an Order on Motion for Sentence

Reduction under 18 U.S.C. § 3582(c)(1)(A) (Compassionate Release).




JONES - COMP RLS ORD.DOCX                         VERSION OCTOBER 19, 2020                          7
        Case 1:10-cr-00905-LTS Document 2351 Filed 10/19/20 Page 8 of 8




               This order resolves Docket Entry Number 2338.

       SO ORDERED.

Dated: New York, New York
       October 19, 2020
                                                         ___/s/ Laura Taylor Swain______
                                                         LAURA TAYLOR SWAIN
                                                         United States District Judge




JONES - COMP RLS ORD.DOCX                     VERSION OCTOBER 19, 2020                     8
